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1                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
2                           EASTERN DIVISION
3
       ZHU ZHAI HOLDINGS, LIMITED, and               ) No. 20 C 4985
4      PETER PUI TAK LEE,                            )
                                                     )
5                                Plaintiffs,         )
                                                     )
6                   v.                               )
                                                     )
7      STEVEN IVANKOVICH,                            ) August 4, 2021
                                                     ) Chicago, Illinois
8                                                    ) 11:05 a.m.
                                 Defendant.          ) Status Hearing
9
                      TRANSCRIPT OF PROCEEDINGS
10           BEFORE THE HONORABLE SHARON JOHNSON COLEMAN
11     APPEARANCES:
12     For the Plaintiffs:            QUINN EMANUEL URQUHART & SULLIVAN, LLP
       (In person)                    865 South Figueroa Street
13                                    Suite 3000
                                      Los Angeles, California 90017
14                                    BY: MR. WILL SEARS
15                                    QUINN EMANUEL URQUHART & SULLIVAN, LLP
       (Telephonically)               51 Madison Avenue
16                                    22nd Floor
                                      New York, New York 10010
17                                    BY: MR. SASCHA N. RAND
18
       For the Defendant:             MR. JASON M. WANDNER, P.A.
19     (Telephonically)               100 Biscayne Boulevard
                                      Suite 1607
20                                    Miami, Florida 33132
21
22
23                  TRACEY DANA McCULLOUGH, CSR, RPR
                         Official Court Reporter
24                      219 South Dearborn Street
                                 Room 1232
25                       Chicago, Illinois 60604
                              (312) 435-5570
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1      APPEARANCES CONTINUED:
2      ALSO PRESENT:
3      (In person)                    MR. DAVID DRESCHER
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1                   THE CLERK: 20 CV 4985, Zhu Zhai Holdings versus
2      Ivankovich.
3                   THE COURT: Good morning.
4                   MR. SEARS: Good morning, Your Honor. Will Sears,
5      Quinn Emanuel for the plaintiffs, and I believe Sascha Rand
6      from Quinn Emanuel is on the phone as well.
7                   THE COURT: All right.
8                   MR. DRESCHER: Good morning, Your Honor. Attorney
9      David Drescher as local counsel for defendant Steven
10     Ivankovich.
11                  THE COURT: All right. Thank you. But let me just
12     go ahead and -- whoever is on the phone you can state your
13     names please, but understand that those who are on the phone
14     can't speak unless spoken to. All right. Go ahead.
15                  MR. RAND: Good afternoon, Your Honor. This is
16     Sascha Rand from Quinn Emanuel. Mr. Sears will be addressing
17     the Court. And thank you for letting me appear at least
18     telephonically as a second chair observer today.
19                  THE COURT: All right. You're welcome. Thank you.
20     Anyone else who needs to identify themselves for the record by
21     phone?
22                  MR. WANDNER: Yes, ma'am. This is attorney Jason
23     Wandner. I'm lead counsel for Steven Ivankovich. And if the
24     Court permits, I would appreciate being able to make the
25     arguments today telephonically.
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1                   THE COURT: All right. My practice prior to the
2      whole COVID stuff was that the person in court made any
3      substantive arguments. I will allow you this today, but first
4      let's deal with the situation most at hand, which I don't think
5      anybody thought was going to happen, we'd have a lawyer
6      standing on the other side. That's a first. He just joined
7      us. When did you file your appearance, Counsel?
8                   MR. DRESCHER: Judge, I actually have not filed my
9      appearance yet. I would like leave to do so. We were just
10     very, very recently retained coming into the, the picture here
11     to appear as local counsel.
12                  THE COURT: Well, pro hac vice was granted, and it's
13     on the docket, so -- and so have you ever even had a chance to
14     speak to the lawyers for the plaintiff on this case?
15                  MR. DRESCHER: I have not personally, Judge, but I --
16     my understanding -- well, I believe Jason Wandner, the attorney
17     on the phone and the other attorney Gary Goldstein may have
18     perhaps.
19                  THE COURT: All right.
20                  MR. DRESCHER: I understand this is a situation where
21     the previous attorney for the defendant had withdrawn.
22                  THE COURT: Yes. Yes. That's true. Mr. Wandner, do
23     you want to speak up?
24                  MR. WANDNER: Yes, ma'am. So, Judge, since we were
25     last together a few weeks ago and the Court was gracious enough
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1      to give us some time to get up to speed, my colleague Gary
2      Goldstein, who I believe is on the phone, and is in the process
3      of filing his pro hac motion, we have worked very diligently to
4      get up to speed to review pretty much everything there is to
5      review to be prepared for today. While I did speak to
6      Mr. Sears I believe prior to the last hearing, we only pretty
7      much finalized our papers and filed them pretty late yesterday,
8      so I did not have a chance to speak to him about it.
9                   I do understand their position was to object to
10     our -- what we had asked for in terms of relief when we had
11     spoken. But our, our motion to vacate the default and our
12     response in opposition to their motion for default judgment has
13     now been filed, and I'm eager to share with the Court in terms
14     of argument our position that has now been filed in writing.
15                  THE COURT: All right. I also see that there's also
16     been a response to your motion that was filed the next day. Am
17     I correct plaintiff?
18                  MR. SEARS: Yes, Your Honor, that's correct. We got
19     the docket notification as my plane to Chicago was taking off,
20     so we worked over the night to, to try to fully brief this, and
21     I've -- actually I brought a copy of the, the brief and our
22     appendix for the Court, if that would be helpful.
23                  THE COURT: Well, that's always helpful. Then I
24     guess the question is has the defense seen the response?
25                  MR. DRESCHER: I have not.
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1                   MR. WANDNER: I did not, Judge.
2                   THE COURT: So I guess the question is do you need
3      any very short time for a reply?
4                   MR. WANDNER: I would appreciate it. If, if their
5      position is to maintain that we don't intend to defend
6      ourselves and that we don't merit relief, then certainly I
7      would request a brief period of time to reply.
8                   THE COURT: All right. Since everything is, is --
9      you all are filing everything within days of the filing, now
10     we're moving and we're moving at lightning speed. But the
11     Court thinks it's best based on the history of this to have a
12     matter fully briefed so the Court can review in writing the
13     arguments. So much of these contested situations are difficult
14     with the telephone, telephonic arguments, et cetera. I know at
15     least for one party they've been ordering regular transcripts,
16     so you have them. Even this Court doesn't look at regular
17     transcripts of the proceedings on the basis -- at least on the
18     frequency that the plaintiff has been.
19                  But the Court needs to be able to, be able to review
20     the arguments in writing, which would be helpful to the Court.
21     And not saying by doing that you would not have additional
22     opportunity to argue. You probably would briefly, if
23     necessary. You know, the Court's just saying this as an aside.
24     If a case can be resolved by getting a party finally in with a
25     lawyer and you get the case resolved, that is much more
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1      preferable than, you know, fighting it out for months, trying
2      to decide whether or not you even get to proceed with your
3      default. So that's the Court's personal position.
4                   But, you know, you all are arguing your cases, and
5      this case has more history than it should for a case that's
6      less than a year old, so -- or only about a year old. It's
7      like we have 88 docket entries on a case that's only been
8      around a short period of time. So defense also knows and
9      understands the frustration that the plaintiff and the Court
10     have on this matter that predates when you came into the case,
11     but it is something the Court has to take into consideration,
12     all of this information, the entire situation. And I'm not,
13     I'm not blind to it.
14                  All right. So, again, for a response -- a reply to
15     your motion for a default can you get it in by Friday, Counsel?
16                  MR. WANDNER: Yes. So we will file a reply to their
17     response to our motion --
18                  THE COURT: Right.
19                  MR. WANDNER: -- by Friday.
20                  THE COURT: Right. So the dockets are 86 is the
21     motion, your motion. Docket 87, filed a day later, is the
22     response that was filed and the exhibits attached. And then
23     that was done yesterday. And then you have until Friday, the
24     5th to file it. All right. And then once the Court --
25                  MR. WANDNER: Yes, ma'am.
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1                   THE COURT: -- the Court reviews it all, I'm not
2      certain. I will either make a turnaround, and you will know
3      fairly quickly at the beginning of next week if I feel I need
4      oral argument. There's a good chance I won't, but I will let
5      you know if I do need oral argument, and I will set any further
6      dates, if necessary, or make any further orders as to --
7      proposed orders being asked for by the Court, et cetera, I will
8      put that in my next order, which will come in early next week
9      after everything has been briefed.
10                  MR. WANDNER: Excellent, Judge. Judge, if I may.
11                  THE COURT: Yes.
12                  MR. WANDNER: If counsel can e-mail me the response.
13     For some reason I didn't see an electronic receipt of that, nor
14     of my own. I do have credentials from the Court, and the Court
15     did grant pro hac, which I appreciate very much. But for some
16     reason I don't -- I'm not seeing on my e-mail the, the filings.
17                  THE COURT: So Miss Montanez, my court deputy, will
18     resend the --
19                  THE CLERK: Notifications.
20                  THE COURT: -- the notifications to you. Okay?
21                  MR. WANDNER: Perfect. Thank you so much.
22                  THE COURT: All right. You're welcome. Let us know
23     if you don't receive them. Let her know so that we can make
24     sure that you don't miss out on a day of preparation. Did you
25     have anything else plaintiff?
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1                   MR. SEARS: Yes, Your Honor. Not to push my luck,
2      but while I'm here, I think the Court's comments were apt. I
3      think we share the Court's frustration that we're a year into
4      this case. We've spent a lot of time and money and very little
5      has happened. I also hear the Court's comments about the
6      preference for resolving cases on the merits rather than a
7      default. We've explained why we think a default is fully
8      warranted in our papers, but just a preview.
9                   Starting at page 9 of our response we also suggest a,
10     a middle path, so to speak, if the Court is so inclined. I
11     think what has become very clear over the past 10 months is
12     that this defendant for whatever reason does not do things --
13                  THE COURT: Okay.
14                  MR. SEARS: -- until the rubber hits the road.
15                  THE COURT: Counsel, you're arguing. I'm not going
16     to allow the argument.
17                  MR. SEARS: Thank you, Judge.
18                  THE COURT: All right.
19                  MR. SEARS: Understood.
20                  THE COURT: I understand the sentiment, but I'm not
21     going to allow the argument. I want to see the briefs in
22     writing. I understand that's pretty much a common sentiment on
23     anybody who gets to this point on plaintiffs, and I understand
24     it, but I'm not going to allow it to go any further. All
25     right.
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1                    If there's nothing else, everyone understands about
2       the briefing schedule. I'll take it under advisement. So the
3       Court is going to have some certainty on at least part of this
4       case by next week. All right. Thank you all on phone and
5       thank you in person. Thank you. Stay safe everybody.
6                    MR. WANDNER: Thank you, Judge.
7                    MR. SEARS: Thank you, Judge.
8                    MR. RAND: Bye.
9                    MR. SEARS: Would you like me to hand up a copy of
10      the brief?
11                   THE COURT: Oh, that would be great.
12           (Document tendered.)

13           (End of proceedings.)

14                                CERTIFICATE
15                   I HEREBY CERTIFY that the foregoing is a true,
16      correct and complete transcript of the proceedings had at the
17      hearing of the aforementioned cause on the day and date hereof.
18
19      /s/TRACEY D. McCULLOUGH                                     August 12, 2021
20      Official Court Reporter                                          Date
        United States District Court
21      Northern District of Illinois
        Eastern Division
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